IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA

SOUTHERN DIVISION
No, /:24-cv-26

IN RE: CAMP LEJEUNE
WATER LITIGATION

THIS DOCUMENT RELATES TO: JURY TRIAL DEMANDED

Paula Lou Clark
Plaintiff First Middle Last Suffix

SHORT-FORM COMPLAINT

The Plaintiff named below, or Plaintiff’s representative, files this Short Form Complaint
against Defendant United States of America under the Camp Lejeune Justice Act of 2022
(“CLJA”). Pub. L. No, 117-168, § 804, 136 Stat. 1802, 1802-04 (2022). Plaintiff or Plaintiff’s
representative incorporates by reference the allegations contained in the Master Complaint (DE
25) on file in the case styled In Re: Camp Lejeune Water Litigation, Case No. 7:23-cv-897, in the
United States District Court for the Eastern District of North Carolina. Plaintiff or Plaintiff’s
representative files this Short-Form Complaint as permitted by Pretrial Order No. 2.

Plaintiff or Plaintiff’s representative alleges as follows:

L INSTRUCTIONS

1. On THIS FORM, are you asserting a claim for This form may only be used to file a complaint for
injuries to YOU or to SOMEONE ELSE you legally | ONE PERSON’S injuries. If you intend to bring

represent? claims for multiple individuals’ injuries—for example,
a claim for yourself and one for a deceased spouse—
L) To Me you must file ONE FORM FOR EACH INJURED

Someone else PERSON,

IL, PLAINTIFF INFORMATION

If you checked “To me” in Box 1, YOU are the Plaintiff. Complete this section with information about YOU.

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If you checked “Someone else” in Box 1, THAT PERSON is the Plaintiff. Complete this section with

information about THAT PERSON.

2. First name: 3. Middle name: 4, Last name: 5, Suffix:
Paula Lou Clark

6. Sex: 7. Is the Plaintiff deceased?

C] Male Yes

Female 1 No

[J] Other

Skip (8) and (9) if you checked “Yes” in Box 7.

Ifyou checked “To me” in Box I, check “No” here.

8. Residence city:

9, Residence state:

Skip (10), (11), and (12) if you checked “No” in Box 7.

10, Date of Plaintiff’s 11. Plaintiff’s residence

death: state at the time of their
02/25/1999 death:
North Carolina

12, Was the Plaintiff’s death caused by an injury
that resulted from their exposure to contaminated
water at Camp Lejeune?

Yes

LC] No

IW. EXPOSURE INFORMATION

If you checked “To me” in Box 1, complete this section with information about YOU.
If you checked “Someone else” in Box 1, complete this section with information about THAT PERSON.

13. Plaintiff’s first month of exposure to the water
at Camp Lejeune:
January / 1956

14. Plaintiff’s last month of exposure to the water at
Camp Lejeune:
June / 1977

15. Estimated total months of exposure:

257 months

16. Plaintiff’s status at the time(s) of exposure
(please check all that apply):

C1 Member of the Armed Services

Civilian (includes in utero exposure)

17. If you checked Civilian in Box 16, check all that
describe the Plaintiff at the time(s) of exposure:

18. Did Plaintiff at any time live or work in any of
the following areas? Check all that apply.

Civilian Military Dependent L] Berkeley Manor
C] Civilian Employee of Private Company C1) Hadnot Point
C1 Civil Service Employee CL] Hospital Point
C] In Utero/Not Yet Born Knox Trailer Park
L] Other 1) Mainside Barracks

CO) Midway Park

1 Paradise Point

C1 Tarawa Terrace

[) Unknown

IV. INJURY INFORMATION

If you checked “To me” in Box 1, complete this section with information about YOU.

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If you checked “Someone else” in Box 1, complete this section with information about THAT PERSON.

19, Identify the illnesses or conditions the Plaintiff suffered as a result of exposure to contaminated water at
Camp Lejeune.

Injury Approximate date of onset

O Adverse birth outcomes (Plaintiff is the PARENT of an
individual who died in utero or was stillborn or born
prematurely)

1 ALS (Lou Gehrig’s Disease)

Aplastic anemia or myelodysplastic syndrome

Bile duct cancer

Brain / central nervous system cancer

Breast cancer

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C] Bladder cancer
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Cardiac birth defects (Plaintiff was BORN WITH the

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Cervical cancer

Colorectal cancer

Esophageal cancer

Gallbladder cancer

Hepatic steatosis (Fatty Liver Disease)

Hypersensitivity skin disorder

Infertility

Intestinal cancer

Kidney cancer

Non-cancer kidney disease

Leukemia

Liver cancer

Lung cancer

Multiple myeloma

Neurobehavioral effects

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Non-cardiac birth defects (Plaintiff was BORN WITH
the defects)

Non-Hodgkin’s Lymphoma

Ovarian cancer

Pancreatic cancer

Parkinson’s disease

Prostate cancer

Sinus cancer

Soft tissue cancer

Systemic sclerosis / scleroderma

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Thyroid cancer

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The Camp Lejeune Justice Act does not specify a list of covered conditions.

If the Plaintiff suffers or previously suffered from a condition not listed above, and the Plaintiff alleges that the

condition was caused by exposure to the water at Camp Lejeune as required under the Act, please check “Other”
and describe the condition on the following lines.

Note in particular that the Board of Veterans’ Appeals of the U.S. Department of Veterans Affairs (the “VA”) has
approved benefits in connection with Camp Lejeune for conditions beyond those listed above.

Other: Approximate date of onset
Ischemic heart disease UNK

V. REPRESENTATIVE INFORMATION

If you checked “To me” in Box 1, SKIP THIS SECTION and proceed to section VI. (“Exhaustion”).
If you checked “Someone else” in Box 1, complete this section with information about YOU.

20. Representative First | 21. Representative Middle | 22. Representative Last | 23. Representative
Name: Name: Name: Suffix:

Geoffry Allen Clark

24. Residence City: 25, Residence State:

Summerfield North Carolina

( Outside of the U.S.

26, Representative Sex:
Male

O Female

C1 Other

27, What is your familial relationship to the Plaintiff?
C1 They are/were my spouse.

[] They are/were my parent.

LI They are/were my child.

They are/were my sibling.

C1 Other familial relationship: They are/were my

[] No familial relationship.

Derivative claim

28. Did the Plaintiff’s death or injury cause the Plaintiff’s spouse, children, or parents mental anguish, loss

of financial support, loss of consortium, or any other economic or non-economic harm for which you intend
to seek recovery?

Yes
1] No

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VI. EXHAUSTION

29, On what date was the administrative claim for
this Plaintiff filed with the Department of the Navy
(DON)?

06/07/2023

30. What is the DON Claim Number for the
administrative claim?

DON has not yet assigned a Claim Number

VIL CLAIM FOR RELIEF

Plaintiff respectfully requests that pursuant to subsection 804(b) of the CLJA the Court

enter judgment against the Defendant and award damages and all other appropriate relief for the

harm to Plaintiff that was caused by exposure to the water at Camp Lejeune.

VIL. JURY TRIAL DEMAND

Plaintiff demands a trial by jury of all issues so triable pursuant to Rule 38 of the Federal

Rules of Civil Procedure and subsection 804(d) of the CLJA.

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Respectfully submitted, this the 23"! day of January, 2024.

DeMENT ASKEW & JOHNSON, LLP

BY: /s/ James T. Johnson

James T. Johnson

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Jonathan W. Martin

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